                 Case 2:18-cv-00468-RDP Document 19 Filed 07/20/18 Page 1 of 1                                                                     FILED
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                                                                                                                                       U.S. DISTRICT COURT
                                                                                                                                           N.D. OF ALABAMA
AO 399 (01/09) Waiver of the Service ofSummons



                                     United States District Court
                                                                       for the
                                                         Northern District of Alabama


                         Clare Thomas
                             Plaintiff
                                V.                                               Civil Action No.       2:18-cv-00468-JHE
                 T-Mobile, USA. Inc., et al.
                         Defendant


                                            WAIVER OF THE SERVICE OF SUMMONS


To:     Clare Thomas. Plaintiff pro se
             (Name ofthe plaintiff's attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                05/24/2018            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered againstjne
                                                                        agamst^me or the
                                                                                      the entity 1I represent.

Date:                       ^
                                                                                           Signature ofthe attorney or unrepr^enKihffarty
                       Stephanie Hart                                                                  Arnold W. Umbach
        Printed name ofparty waiving service ofsummons
                                                                                                ^            /'r/zj/ei/name
                                                                                      garnac Davis Florie LLP, 100 Brookwood Place.
                                                                                        Seventh Floor. Birmingham, Alabama 35209

                                                                                                                Address

                                                                                                    tumbach@starneslaw.com
                                                                                                            E-mail address

                                                                                                          (205) 868-6000
                                                                                                           Telephone number

                                          Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules ofCivil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          "Good cause" does not include a beliefthat the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

          If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
